        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 1 of 33




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM OF MISSISSIPPI, individually             Civ. A. No. _____________
and on behalf of all others similarly
situated,                                       COMPLAINT – CLASS ACTION

                    Plaintiff,                  COMPLAINT FOR
                                                VIOLATIONS OF THE
             v.                                 FEDERAL SECURITIES LAWS

MOHAWK INDUSTRIES, INC.,                        JURY TRIAL DEMANDED
JEFFREY S. LORBERBAUM, FRANK
H. BOYKIN, GLENN R. LANDAU, and                 ECF CASE
WILLIAM CHRISTOPHER
WELLBORN,

                    Defendants.

      Plaintiff Public Employees’ Retirement System of Mississippi (“Plaintiff”),

by and through its counsel, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal

knowledge. Plaintiff’s information and belief are based upon, inter alia, counsel’s

investigation, which included review and analysis of: (a) regulatory filings made by

Mohawk Industries, Inc. (“Mohawk” or the “Company”) with the United States

Securities and Exchange Commission (“SEC”); (b) press releases, presentations, and

media reports issued by and disseminated by the Company; (c) analyst and media



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           Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 2 of 33




reports concerning Mohawk; and (d) other public information regarding the

Company.

                                   INTRODUCTION

      1.       This securities class action is brought on behalf of all persons or entities

that purchased shares of Mohawk’s common stock between April 28, 2017 and July

25, 2019, inclusive (the “Class Period”). The claims asserted herein are alleged

against Mohawk and certain of the Company’s senior executives (collectively,

“Defendants”), and arise under Sections 10(b) and 20(a) of the Securities Exchange

Act of 1934 (the “Exchange Act”) and Rule 10b-5, promulgated thereunder.

      2.       Mohawk is a global manufacturer of flooring products. The Company

conducts its business through three segments: Global Ceramic, Flooring North

America (“Flooring NA”), and Flooring Rest of World (“Flooring ROW”). The

Global Ceramic segment offers a range of ceramic and porcelain tile and natural

stone products. The Flooring NA segment offers floor covering product lines,

including carpets, rugs, laminate, hardwood flooring, sheet vinyl, and luxury vinyl

tile. The Flooring ROW segment offers laminate, sheet vinyl, carpet, hardwood

flooring, and luxury vinyl tile.

      3.       The Company’s traditional product offerings include ceramic, stone,

laminate, carpet, wood, and vinyl flooring (the “Conventional Flooring Products”).



                                             2
           Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 3 of 33




Mohawk markets and distributes its products under various brands which it sells

through independent distributors, home improvement centers, retailers, and

wholesalers.

      4.       Over the past several years, consumers around the world have

increasingly opted to use a new flooring material, Luxury Vinyl Tile (“LVT”), as an

alternative to more traditional floor coverings. LVT is a luxury vinyl product that is

designed to look like wood, stone, or ceramic tile. LVT is waterproof, less costly to

install than the traditional flooring products, and lasts longer than more traditional

flooring products. LVT is predominantly manufactured in and exported from China,

where manufactures swiftly ramped up LVT production capacity and led the pace

on LVT product innovation.

      5.       Indeed, during the Class Period, Mohawk’s CEO described the rapid

growth in U.S. consumer demand for LVT as the biggest change in the flooring

industry since carpet in the 1960s. In just five years, LVT has gone from being a

relatively unknown product to comprising approximately 15% of all flooring sales

in the U.S. As consumer demand for LVT has grown, however, it has siphoned

growth away from Mohawk’s Conventional Flooring Products—a market in which

the Company has historically dominated the industry.

      6.       While Mohawk’s competitors entered into direct distribution deals with


                                           3
           Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 4 of 33




Chinese manufacturers to capitalize on the growing LVT market, Mohawk took a

different approach by investing in LVT production plants and growing its LVT

business through the acquisition of IVC Group (“IVC”), an LVT manufacturer with

operations in Europe and the U.S., in a deal worth $1.2 billion that closed on June

15, 2015. However, prior to and during the Class Period, Mohawk struggled to grow

its LVT business and keep up with consumer demand for LVT products because of

the Company’s LVT “capacity restraints” and other production issues. As rapid

growth in demand for LVT cannibalized sales of Mohawk’s Conventional Flooring

Products, the Company was left scrambling to prop up sales of its Conventional

Flooring Products. As a result, Defendants engaged in a scheme to “channel stuff”

its Conventional Flooring Products—that is, they induced their distributors to take

on surpluses of Conventional Flooring Products that were vastly greater than

demand—in an effort to make Mohawk’s sales growth and financial performance

appear far better than they were.

      7.       Two important metrics investors considered in assessing the

Company’s financial performance were: Days Sales Outstanding (“DSO”) and Days

in Inventory (or Inventory Days) (“DII”). Mohawk recognizes revenue once its

products are received by its customers. If the Company did not collect cash at the

time of sale, the amount owed is also reflected on the Company’s balance sheet as


                                        4
           Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 5 of 33




accounts receivable. DSO represents the average number of days that it takes

Mohawk to collect payment after a sale has been made. This metric is significant

because a high DSO indicates that Mohawk is taking longer to collect money from

its accounts receivable and generate cash flow and could signal that its customers

already have a high volume of inventory that they aren’t quickly selling through to

end users. DII is a ratio that measures the average number of days that Mohawk

holds its inventory before selling it to its customers. This metric is significant

because a high DII indicates that Mohawk has been manufacturing quantities of

products that its customers have been unwilling or unable to purchase. A similar

ratio related to DII is “inventory turnover,” which refers to the number of times

Mohawk is able to sell its inventory over a particular time period. In general, a

higher inventory turnover ratio is preferred because it indicates a greater generation

of sales for Mohawk.

      8.       The Class Period begins on April 28, 2017, when Mohawk held a

conference call with analysts and investors to discuss the Company’s financial

results for the first quarter of 2017. During the call, Defendant Lorberbaum touted

the “growing demand” for certain Mohawk Conventional Flooring Products and that

the Company’s investments in making “more differentiated products” and

“innovative new products” were a driving factor in Mohawk’s sales growth. During


                                          5
           Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 6 of 33




the call, Defendant Boykin told investors that the Company’s DSO had increased to

54.9 days compared to 52.3 days the prior year, purportedly as a result of “channel

mix.” The Company’s then-CFO also reported increased inventories, with DII

increasing to 110 days compared to 107 days the prior year, and attributed the

increase to “geographic expansion and product growth.”

      9.       Throughout the Class Period, Defendants continued making false and

misleading statements about the Company’s sales growth and demand for its

Conventional Flooring Products. Despite the Company’s accounts receivable and

inventory levels increasing during the Class Period, Defendants assuaged investor

concerns by misleading them to believe that those increases were the result of

external factors like rising raw material costs and inflation. But in reality, Mohawk

was engaging in channel-stuffing to artificially inflate its sales and revenues.

Defendants failed to disclose that Mohawk was stuffing its distribution channels

with Conventional Flooring Products, which made the Company’s sales growth and

financial performance appear far better than they were. As a result of these

misrepresentations, shares of Mohawk’s common stock traded at artificially inflated

prices during the Class Period.

      10.      On July 25, 2018, after the market closed, the Company reported

disappointing financial results for the second quarter of 2018, with earnings that


                                         6
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 7 of 33




were well below both Wall Street estimates and the Company’s previous guidance

range. The following morning, in a conference call with analysts and investors,

Mohawk also disclosed deteriorating margins which it attributed, in part, to

significant production cuts the Company imposed to normalize inventory.

Specifically, the Company revealed that it “produced less [Conventional Flooring

Products] than [it] sold to reduce inventory.” Similarly, Mohawk also revealed that

it “reduced [its] production volumes more than [the Company] had thought” and that

the Company “came into the year with higher inventories than [it] wanted to have.”

These disclosures caused the Company’s stock price to decline from $217.37 per

share to $179.31 per share, or over 17%.

      11.    Then, on October 25, 2018, after the market closed, the Company

reported sales and earnings for the third quarter of 2018 that substantially missed

analysts’ estimates and the Company’s previous guidance range, with sales growth

in all segments lower than estimates. Company executives attributed Mohawk’s

poor financial results, in part, to further manufacturing reductions that were required

during the period to control inventory buildup. On this news, the Company’s stock

price fell nearly 24%, from $151.07 per share to $115.03 per share.

      12.    On July 25, 2019, after the market closed, Mohawk reported that sales

in its Flooring NA segment were down 7% and revealed that the Company was again


                                           7
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 8 of 33




reducing production to control inventory levels and match its supply with customer

demand.     The Company also revealed that increased competition and excess

inventory had impacted its financial results, particularly in its Global Ceramic

segment. The Company announced that “lower demand” for certain Conventional

Flooring Products created excess inventory which impacted the Company’s sales

and margins. The Company further revealed that there was a “big buildup in

inventory in ceramic” in the sales channel, which had negatively impacted the

Company’s sales. Accordingly, the Company provided a weak earnings forecast for

the third quarter of 2019, which was well below analysts’ estimates. As a result of

these disclosures, the price of Mohawk’s stock dropped from $156.36 per share to

$128.84 per share, or nearly 18%.

                         JURISDICTION AND VENUE

      13.    The claims asserted herein arise under Sections 10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)), and Rule 10b-5 promulgated

thereunder (17 C.F.R. § 240.10b-5). This Court has jurisdiction over the subject

matter of this action pursuant to 28 U.S.C. §§ 1331 and 1337 and Section 27 of the

Exchange Act (15 U.S.C. § 78aa).

      14.    Venue is proper in this District pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Mohawk maintains its headquarters



                                         8
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 9 of 33




in Calhoun, Georgia, which is situated in this District, conducts substantial business

in this District, and many of the acts and conduct that constitute the violations of law

complained of herein, including dissemination to the public of materially false and

misleading information, occurred in and/or were issued from this District. In

connection with the acts alleged in this Complaint, Defendants, directly or indirectly,

used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications, and the facilities of the

national securities markets.

                                      PARTIES

      A.     Plaintiff

      15.    Plaintiff Public Employees’ Retirement System of Mississippi is a

pension fund established for the benefit of the current and retired public employees

of the State of Mississippi. Plaintiff is responsible for the retirement income of

employees of the State, including current and retired employees of the State’s public-

school districts, municipalities, counties, community colleges, state universities,

libraries and water districts. Plaintiff provides benefits to over 75,000 retirees,

manages over $28 billion in assets for its beneficiaries, and is responsible for

providing retirement benefits to more than 250,000 current public employees. As

indicated on the certification submitted herewith, Plaintiff purchased Mohawk



                                           9
         Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 10 of 33




common stock at artificially inflated prices during the Class Period and suffered

damages as a result of the violations of the federal securities laws alleged herein.

        B.    Defendants

        16.   Defendant Mohawk is a global manufacturer of flooring products.

Mohawk markets and distributes its products under various brands which it sells

through independent distributors, home centers, retailers, and wholesalers.

Incorporated in Delaware, the Company maintains its corporate headquarters at 160

South Industrial Blvd., Calhoun, Georgia. The Company’s common stock trades on

the New York Stock Exchange (“NYSE”) under ticker symbol “MHK.” As of July

31, 2019, Mohawk had over 72 million shares of common stock outstanding, owned

by hundreds or thousands of investors

        17.   Defendant Jeffrey S. Lorberbaum (“Lorberbaum”) is, and was at all

relevant times, Chief Executive Officer of Mohawk, as well as Chairman of the

Company’s Board of Directors.

        18.   Defendant Frank H. Boykin (“Boykin”) served as Mohawk’s Executive

Vice President of Finance and Chief Financial Officer from January 2005 until April

2019.

        19.   Defendant William Christopher Wellborn (“Wellborn”) is, and was at

all relevant times, President and Chief Operating Officer of Mohawk, as well as a



                                          10
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 11 of 33




member of the Company’s Board of Directors.

      20.    Defendant Glenn R. Landau (“Landau”) has served as Mohawk’s

Executive Vice President and Chief Financial Officer since April 2019.

      21.    Defendants Lorberbaum, Boykin, Wellborn, and Landau are

collectively referred to hereinafter as the “Individual Defendants.” The Individual

Defendants, because of their positions with Mohawk, possessed the power and

authority to control the contents of the Company’s reports to the SEC, press releases,

and presentations to securities analysts, money and portfolio managers, and

institutional investors. Each of the Individual Defendants was provided with copies

of the Company’s reports and press releases alleged herein to be misleading prior to,

or shortly after, their issuance and had the ability and opportunity to prevent their

issuance or cause them to be corrected. Because of their positions and access to

material non-public information available to them, each of the Individual Defendants

knew that the adverse facts specified herein had not been disclosed to, and were

being concealed from, the public, and that the positive representations which were

being made were then materially false and/or misleading.

                                 BACKGROUND

      22.    During the past several years, the flooring industry has seen a rapid and

significant shift in consumer demand for a new flooring material, Luxury Vinyl Tile,



                                         11
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 12 of 33




or LVT, as an alternative to Conventional Flooring Products. LVT is predominantly

manufactured in and exported from China, where manufacturers swiftly ramped up

LVT production capacity and product innovation.

      23.    While Mohawk’s competitors entered distribution deals directly with

Chinese manufacturers to capitalize on the growing LVT trend, Mohawk took a

different approach by investing in LVT production plants and growing its LVT

business through the acquisition of IVC. However, prior to and during the Class

Period, Mohawk struggled to grow its LVT business and keep up with consumer

demand for the product because of its LVT “capacity restraints” and other

production issues. The shift in consumer demand for LVT has been significant for

Mohawk, because as consumer demand for LVT has grown, it has siphoned growth

away from Mohawk’s Conventional Flooring Products, in which the Company has

historically dominated the industry. Thus, as rapid growth in demand for LVT

cannibalized sales of the Company’s Conventional Flooring Products, Mohawk was

left scrambling to recover so that its sales growth did not decline. As a result,

Defendants engaged in a scheme to stuff its channel with Conventional Flooring

Products in order to make Mohawk’s sales growth and financial performance appear

far better than they were.

      24.    As a result of this scheme, during the Class Period, Mohawk reported


                                       12
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 13 of 33




record revenues, attributing its strong financial performance to a growing demand

for certain Conventional Flooring Products, investments in new and differentiated

products, and the “exceptional execution” of its businesses. At the same time, to

alleviate investor concerns regarding the Company’s increasing accounts receivable

and rising inventory levels, Defendants repeatedly misled investors by blaming the

increases on external factors such as a changing mix in customers, higher raw

material costs and inflation.

       DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
     STATEMENTS CAUSE SUBSTANTIAL LOSSES TO INVESTORS

      25.    The Class Period begins on April 28, 2017, when Mohawk held a

conference call with analysts and investors to discuss the Company’s financial

results for the first quarter of 2017. During the call, Defendant Lorberbaum touted

the “growing demand” for certain Mohawk Conventional Flooring Products and that

the Company’s investments in making “more differentiated products” and

“innovative new products” were a driving factor in Mohawk’s revenue growth.

During the call, Defendant Boykin told investors that the Company’s DSO had

increased to 54.9 days compared to 52.3 days the prior year, primarily as a result of

“channel mix.” Defendant Boykin also reported increased inventories, with DII

increasing to 110 days compared to 107 days the prior year, and attributed the

increase to “geographic expansion and product growth.”


                                         13
       Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 14 of 33




      26.   The statements set forth above in ¶25 were materially false and

misleading. In truth, Defendants engaged in deceptive and unsustainable sales

practices to mask declining customer demand for its Conventional Flooring

Products.   The Company’s revenue growth was not attributable to product

differentiation and innovation or growing demand for Conventional Flooring

Products, but rather due to unsustainable channel stuffing of Conventional Flooring

Products. Mohawk’s increasing accounts receivable was not the result of channel

mix and its increasing inventories was not the result of product growth and

expansion, but instead the result of the Company deliberately stuffing the channels

with Conventional Flooring Products to boost sales.

      27.   On July 28, 2017, Mohawk held a conference call with analysts and

investors to discuss the Company’s financial results for the second quarter of 2017.

During the conference call, Defendant Lorberbaum stated that “[Mohawk’s]

businesses continued their exceptional execution, with sales growth of 6%.”

Defendant Wellborn touted the “increased demand” for certain Mohawk

Conventional Flooring Products, and Defendant Lorberbaum stated that the

Company was “fueling [its] growth around the globe with significant investments to

extend [its] product portfolio and penetrate new markets.” Defendant Wellborn also

stated that the Company was “growing [its] sales with unique merchandising and


                                        14
       Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 15 of 33




promotions to optimize each channel” for certain Mohawk Conventional Flooring

Products. During the call, Defendant Boykin reported an increase in the Company’s

receivables and reported that DSO had increased to 55 days compared to 54 days the

prior year “due to the changing mix in our customers in the quarter.” In addition,

Defendant Boykin told investors that the Company’s inventories had increased, with

DII at 109 days compared to 105 days the previous year, and he attributed the

increase to “raw material inflation and more sourced product needed to support [its]

LVT, ceramic and countertop businesses.” In response to an analyst’s question

regarding the Company’s significant growth in inventories, Defendant Lorberbaum

replied that the growth was the result of increasing material costs, the Company

increasing the number of sourced products to support its new businesses, and a U.S.

economy that was not as robust as expected.

      28.   The statements set forth above in ¶27 were materially false and

misleading. In truth, Defendants engaged in deceptive and unsustainable sales

practices to mask declining customer demand for its Conventional Flooring

Products. The Company’s revenue growth was not attributable to exceptional

execution, unique merchandising and promotions, or growing demand for

Conventional Flooring Products, but rather due to unsustainable channel stuffing of

Conventional Flooring Products. Mohawk’s increasing accounts receivable was not


                                        15
       Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 16 of 33




the result of a changing mix of customers and its increasing inventories was not the

result of raw material inflation and more sourced product, but instead the result of

the Company deliberately stuffing the channels with Conventional Flooring

Products to boost sales.

      29.    On October 27, 2017, Mohawk held a conference call with analysts and

investors to discuss the Company’s financial results for the third quarter of 2017.

During the call, Defendant Lorberbaum touted the “increasing demand” for certain

Mohawk Conventional Flooring Products and that the Company’s investments to

“enhance[] [its] product offering with unique designs and differentiated features”

and introduce “new product[s]” were a driving factor in Mohawk’s sales growth.

During the call, Defendant Boykin again reported increased inventory levels and

again attributed the increase to “raw material inflation and source product growth.”

      30.    The statements set forth above in ¶29 were materially false and

misleading. In truth, Defendants engaged in deceptive and unsustainable sales

practices to mask declining customer demand for its Conventional Flooring

Products.   The Company’s revenue growth was not attributable to product

differentiation and innovation or growing demand for Conventional Flooring

Products, but rather due to unsustainable channel stuffing of Conventional Flooring

Products. Mohawk’s increasing inventories was not the result of raw material


                                        16
          Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 17 of 33




inflation and source product growth, but instead the result of the Company

deliberately stuffing the channels with Conventional Flooring Products to boost

sales.

         31.   On February 9, 2018, Mohawk held a conference call with analysts and

investors to discuss the Company’s financial results for the fourth quarter of 2017.

During the call, Defendant Wellborn touted the “increasing demand” for certain

Mohawk Conventional Flooring Products, and Defendant Lorberbaum stated that

the Company’s investments to add “new products” and to “differentiat[e] [its

existing] products” were a driving factor in its sales growth. In addition, Defendant

Wellborn stated that “[o]ur high-styled offerings, consumer brands, franchised and

owned retail stores and efficient operations give us a significant competitive

advantage” and that the Company was “operating at full capacity and [] expanding

[its] production to satisfy the growing demand and increase [its] market share.”

During the call, Defendant Boykin reported the Company’s inventories had

increased, with DII at 119, and he attributed the increase to “higher raw material

cost, ramp-up of new products and backwards integration.” Similarly, in direct

response to an analyst’s question, Defendant Lorberbaum attributed the rising

inventory levels to an “increase in raw material prices before the selling price have

gotten through and continuing,” as well as to some “backward integration” the


                                         17
       Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 18 of 33




Company has done.

      32.    The statements set forth above in ¶31 were materially false and

misleading. In truth, Defendants engaged in deceptive and unsustainable sales

practices to mask declining customer demand for its Conventional Flooring

Products.   The Company’s revenue growth was not attributable to product

differentiation and innovation or growing demand for Conventional Flooring

Products, but rather due to unsustainable channel stuffing of Conventional Flooring

Products. Mohawk’s increasing inventories was not the result of increasing raw

material prices and the Company’s backward integration, but instead the result of

the Company deliberately stuffing the channels with Conventional Flooring

Products to boost sales. As a result of Mohawk’s channel stuffing, the Company

was not enjoying a “competitive advantage.”

      33.    On April 27, 2018, Mohawk held a conference call with analysts and

investors to discuss the Company’s financial results for the first quarter of 2018.

During the call, Defendant Boykin stated that the Company’s “[i]nventory turns

continue to be impacted by increasing inflation and our backwards integration.”

During the call, Defendant Lorberbaum also stated that the Company “anticipate[d]

higher growth rates in all segments” throughout the rest of the year.

      34.    The statements set forth above in ¶33 were materially false and


                                         18
          Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 19 of 33




misleading. In truth, Defendants engaged in deceptive and unsustainable sales

practices to mask declining customer demand for its Conventional Flooring

Products. Mohawk’s increasing inventories was not the result of increasing inflation

or the Company’s backward integration, but instead the result of the Company

deliberately stuffing the channels with Conventional Flooring Products to boost

sales.    As a result of the Company’s channel stuffing, Defendants knew that

Mohawk’s growth rate was unsustainable.

                            THE TRUTH EMERGES

         35.   On July 25, 2018, after the market closed, the Company reported

disappointing financial results for the second quarter of 2018, with earnings that

were well below both Wall Street estimates and the Company’s previous guidance

range.     These shortfalls were driven by Mohawk’s efforts to “produce[] less

[Conventional Flooring Products] than [it] sold to reduce inventory.” Similarly,

Mohawk disclosed that it “reduced [its] production volumes more than [the

Company] had thought” and acknowledged that the Company “came into the year

with higher inventories than [it] wanted to have.” The Company’s efforts to reduce

inventories signaled that its sales channels were stuffed with more product than it

was able to sell through. These disclosures caused the Company’s stock price to

decline from $217.37 per share to $179.31 per share, or over 17%, on unusually high


                                        19
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 20 of 33




trading volume.

      36.    Despite these disclosures, Mohawk continued to misrepresent the

demand for its Conventional Flooring Products and sales growth, as well as the

reasons for rising inventory levels. Specifically, during the second quarter 2018

earnings call, Defendant Boykin blamed the Company’s increasing inventory levels

on “[i]nflation [that] negatively impacted the calculation.”

      37.    The statements set forth above in ¶36 were materially false and

misleading. In truth, Defendants engaged in deceptive and unsustainable sales

practices to mask declining customer demand for its Conventional Flooring

Products.   Mohawk’s increasing inventories was not the result of increasing

inflation, but instead the result of the Company deliberately stuffing the channels

with Conventional Flooring Products to boost sales.

      38.    Then, on October 25, 2018, after the market closed, the Company

reported sales and earnings for the third quarter of 2018 that substantially missed

analysts’ estimates and fell well below the Company’s previous guidance range, with

sales growth in all segments falling below estimates. Mohawk attributed its poor

financial results, in part, to manufacturing reductions that were required to control

inventory buildup. In particular, Defendant Wellborn stated that “[t]o improve our

inventory turns, we are presently manufacturing fewer units than we are selling,


                                         20
       Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 21 of 33




which is negatively impacting our costs.” As a result of these disclosures, the

Company’s stock price plummeted nearly 24%, from $151.07 per share to $115.03

per share, on unusually high trading volume.

      39.    However, the Company continued to misrepresent the demand for its

Conventional Flooring Products and sales growth and the reasons for rising

inventory levels. In particular, on October 26, 2018, during the third quarter 2018

earnings call, Defendant Boykin again blamed the Company’s increasing inventory

levels on “[i]nflation and backwards integration [that] negatively impacted the

calculations.”   In addition, in response to an analyst’s question regarding the

Company’s rising inventories, Defendant Lorberbaum misled investors to believe it

was the result of raw material inflation by stating that “inventory turns get worse

because the raw materials have increased.” During the call, Defendant Boykin

assured investors that inventories would “go down in the fourth quarter” and the

Company would “see improvement in [its] inventory turns” into the next year.

      40.    Similarly, on April 26, 2019, during the first quarter 2019 earnings call,

Defendant Landau attributed the Company’s increasing inventory levels to “the

ramp up of new plants, acquisitions and higher raw material costs.” In addition, in

response to an analyst’s question regarding the Company’s rising inventories,

Defendant Lorberbaum stated that the Company’s “inventories in the ongoing


                                         21
       Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 22 of 33




businesses were kept under control with lower production rates.”

      41.    The statements set forth above in ¶¶39-40 were materially false and

misleading. In truth, Defendants engaged in deceptive and unsustainable sales

practices to mask declining customer demand for its Conventional Flooring

Products.   Mohawk’s increasing inventories was not the result of higher raw

materials costs or new plants and acquisitions, but instead the result of the Company

deliberately stuffing the channels with Conventional Flooring Products to boost

sales. In reality, the Company’s inventories were not “under control,” but rather

bloated with too much product as a result of Mohawk channel stuffing its distributors

with Conventional Flooring Products, which caused the Company’s customers to

significantly reduce their orders for Conventional Flooring Products.

      42.    Then, on July 25, 2019, after the market closed, Mohawk revealed that

sales in its Flooring NA segment were down 7% year-over-year, and that it was again

reducing production to control inventory levels and match its supply with customer

demand.     The Company also revealed that increased competition and excess

inventory had impacted its financial results, particularly in its Global Ceramic

segment. The Company announced that “lower demand” for certain Conventional

Flooring Products created excess inventory which impacted the Company’s sales

and margins. The Company also disclosed that there was a “big buildup in inventory


                                         22
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 23 of 33




in ceramic” in the sales channel, which had negatively impacted the Company’s

sales. Accordingly, the Company gave a weak earnings forecast for the third quarter

of 2019, which was well below analysts’ estimates. As a result of these disclosures,

the price of Mohawk’s stock dropped from $156.36 per share to $128.84 per share,

or nearly 18%, on unusually high trading volume.

      43.    As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.

                                LOSS CAUSATION

      44.    During the Class Period, as detailed herein, Defendants made

materially false and misleading statements and omissions, and engaged in a scheme

to deceive the market. This artificially inflated the price of Mohawk’s common

stock and operated as a fraud or deceit on the Class (as defined below). Later, when

Defendants’ prior misrepresentations and fraudulent conduct were disclosed to the

market, the price of Mohawk’s stock fell precipitously as the prior artificial inflation

came out of the price over time. As a result of their purchases of Mohawk’s stock

during the Class Period, Plaintiff and other members of the Class suffered economic

loss, i.e., damages, under the federal securities laws.




                                          23
          Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 24 of 33




                         CLASS ACTION ALLEGATIONS

         45.   Plaintiff brings this action as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of all persons who purchased or

otherwise acquired the publicly traded common stock of Mohawk during the Class

Period (the “Class”). Excluded from the Class are Defendants and their families,

directors, and officers of Mohawk and their families and affiliates.

         46.   The members of the Class are so numerous that joinder of all members

is impracticable. The disposition of their claims in a class action will provide

substantial benefits to the parties and the Court. As of July 31, 2019, Mohawk had

over 72 million shares of common stock outstanding, owned by hundreds or

thousands of investors.

         47.   There is a well-defined community of interest in the questions of law

and fact involved in this case. Questions of law and fact common to the members

of the Class which predominate over questions which may affect individual Class

members include:

               (a)   Whether Defendants violated the Exchange Act;

               (b)   Whether Defendants omitted and/or misrepresented material

facts;




                                           24
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 25 of 33




             (c)   Whether Defendants’ statements omitted material facts

necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading;

             (d)   Whether the Individual Defendants are personally liable for the

alleged misrepresentations and omissions described herein;

             (e)   Whether Defendants knew or recklessly disregarded that their

statements and/or omissions were false and misleading;

             (f)   Whether Defendants’ conduct impacted the price of Mohawk

common stock;

             (g)   Whether Defendants’ conduct caused the members of the Class

to sustain damages; and

             (h)   The extent of damage sustained by Class members and the

appropriate measure of damages.

      48.    Plaintiff’s claims are typical of those of the Class because Plaintiff and

the Class sustained damages from Defendants’ wrongful conduct.

      49.    Plaintiff will adequately protect the interests of the Class and has

retained counsel experienced in class action securities litigation. Plaintiff has no

interests which conflict with those of the Class.

      50.    A class action is superior to other available methods for the fair and


                                         25
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 26 of 33




efficient adjudication of this controversy.     Joinder of all Class members is

impracticable.

            INAPPLICABILITY OF STATUTORY SAFE HARBOR

      51.    Mohawk’s “Safe Harbor” warnings accompanying its forward-looking

statements issued during the Class Period were ineffective to shield those statements

from liability.

      52.    Defendants are also liable for any false or misleading forward-looking

statements pleaded herein because, at the time each such statement was made, the

speaker knew the statement was false or misleading and the statement was

authorized and/or approved by an executive officer of Mohawk who knew that the

statement was false. None of the historic or present tense statements made by

Defendants were assumptions underlying or relating to any plan, projection, or

statement of future economic performance, as they were not stated to be such

assumptions underlying or relating to any projection or statement of future economic

performance when made, nor were any of the projections or forecasts made by

Defendants expressly related to, or stated to be dependent on, those historic or

present tense statements when made.

                       PRESUMPTION OF RELIANCE

      53.    At all relevant times, the market for Mohawk’s common stock was an



                                         26
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 27 of 33




efficient market for the following reasons, among others:

             (a)   Mohawk common stock met the requirements for listing, and was

listed and actively traded on the NYSE, a highly efficient and automated market;

             (b)   As a regulated issuer, Mohawk filed periodic public reports with

the SEC and NYSE;

             (c)   Mohawk regularly and publicly communicated with investors via

established market communication mechanisms, including through regular

disseminations of press releases on the national circuits of major newswire services

and through other wide-ranging public disclosures, such as communications with the

financial press and other similar reporting services; and

             (d)   Mohawk was followed by several securities analysts employed

by major brokerage firm(s) who wrote reports which were distributed to the sales

force and certain customers of their respective brokerage firm(s). Each of these

reports was publicly available and entered the public marketplace.

      54.    As a result of the foregoing, the market for Mohawk common stock

promptly digested current information regarding Mohawk from all publicly

available sources and reflected such information in the price of Mohawk common

stock. Under these circumstances, all purchasers of Mohawk common stock during

the Class Period suffered similar injury through their purchase of Mohawk common


                                         27
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 28 of 33




stock at artificially inflated prices and the presumption of reliance applies.

      55.    A Class-wide presumption of reliance is also appropriate in this action

under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United

States, 406 U.S. 128 (1972), because the Class’ claims are grounded on Defendants’

material omissions. Because this action involves Defendants’ failure to disclose

material adverse information regarding their efforts to stuff the Company’s sales

channels with Conventional Flooring Products which artificially inflated revenue—

information that Defendants were obligated to disclose—positive proof of reliance

is not a prerequisite to recovery. All that is necessary is that the facts withheld be

material in the sense that a reasonable investor might have considered them

important in making investment decisions. Given the importance of the Company’s

ability to sell its products to customers, that requirement is satisfied here.

                                      COUNT I

      For Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                            Against All Defendants

      56.    Plaintiff repeats and realleges each and every allegation contained

above as if fully set forth herein.

      57.    During the Class Period, Defendants carried out a plan, scheme, and

course of conduct which was intended to and, throughout the Class Period, did: (i)

deceive the investing public, including Plaintiff and other Class members, as alleged


                                           28
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 29 of 33




herein; and (ii) cause Plaintiff and other members of the Class to purchase Mohawk

common stock at artificially inflated prices.

      58.    Defendants: (i) employed devices, schemes, and artifices to defraud;

(ii) made untrue statements of material fact and/or omitted to state material facts

necessary to make the statements not misleading; and (iii) engaged in acts, practices,

and a course of business which operated as a fraud and deceit upon the purchasers

of the Company’s common stock in an effort to maintain artificially high market

prices for Mohawk common stock in violation of Section 10(b) of the Exchange Act

and Rule 10b-5, promulgated thereunder.

      59.    Defendants, individually and in concert, directly and indirectly, by the

use, means or instrumentalities of interstate commerce and/or of the mails, engaged

and participated in a continuous course of conduct to conceal adverse material

information about the Company’s financial well-being, operations, and prospects.

      60.    During the Class Period, Defendants made the false statements

specified above, which they knew or recklessly disregarded to be false and

misleading in that they contained misrepresentations and failed to disclose material

facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading.

      61.    Defendants had actual knowledge of the misrepresentations and


                                         29
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 30 of 33




omissions of material fact set forth herein, or recklessly disregarded the true facts

that were available to them. Defendants engaged in this misconduct to conceal

Mohawk’s true condition from the investing public and to support the artificially

inflated prices of the Company’s common stock.

      62.    Plaintiff and the Class have suffered damages in that, in reliance on the

integrity of the market, they paid artificially inflated prices for Mohawk’s common

stock. Plaintiff and the Class would not have purchased the Company’s common

stock at the prices they paid, or at all, had they been aware that the market prices for

Mohawk’s common stock had been artificially inflated by Defendants’ fraudulent

course of conduct.

      63.    As a direct and proximate result of Defendants’ wrongful conduct,

Plaintiff and the other members of the Class suffered damages in connection with

their respective purchases of the Company’s common stock during the Class Period.

      64.    By virtue of the foregoing, Defendants violated Section 10(b) of the

Exchange Act and Rule 10b-5, promulgated thereunder.

                                       COUNT II

               For Violations of Section 20(a) of the Exchange Act
                       Against the Individual Defendants

      65.    Plaintiff repeats, incorporates, and realleges each and every allegation

set forth above as if fully set forth herein.


                                           30
        Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 31 of 33




      66.    The Individual Defendants acted as controlling persons of Mohawk

within the meaning of Section 20(a) of the Exchange Act. By virtue of their high-

level positions, participation in and/or awareness of the Company’s operations,

direct involvement in the day-to-day operations of the Company, and/or intimate

knowledge of the Company’s actual performance, and their power to control public

statements about Mohawk, the Individual Defendants had the power and ability to

control the actions of Mohawk and its employees. By reason of such conduct, the

Individual Defendants are liable pursuant to Section 20(a) of the Exchange Act.

                              PRAYER FOR RELIEF

      67.    WHEREFORE, Plaintiff prays for judgment as follows:

             A.    Determining that this action is a proper class action under Rule

23 of the Federal Rules of Civil Procedure;

             B.    Awarding compensatory damages in favor of Plaintiff and other

Class members against all Defendants, jointly and severally, for all damages

sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

including interest thereon;

             C.    Awarding Plaintiff and the Class their reasonable costs and

expenses incurred in this action, including attorneys’ fees and expert fees;




                                         31
       Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 32 of 33




            D.    As to the claims set forth under the Securities Act, awarding

rescission or a recessionary measure of damages; and

            E.    Awarding such equitable/injunctive or other further relief as the

Court may deem just and proper.

                                JURY DEMAND

      68.   Plaintiff demands a trial by jury.

DATED: January 3, 2020                     /s/ H. Lamar Mixson
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                                        32
Case 4:20-cv-00005-ELR Document 1 Filed 01/03/20 Page 33 of 33




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                             33
